        Case 3:21-cv-00617-WHA-SRW Document 7 Filed 10/18/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

CYRUS DALE STEWART,                      )
                                         )
        Plaintiff,                       )
                                         )
        v.                               )   CASE NO. 3:21-CV-617-WHA-SRW
                                         )
SHERIFF MR. ANDRE BRUNSON,               )
et al.,                                  )
                                         )
        Defendants.                      )

                                      ORDER

        On September 24, 2021, the Magistrate Judge filed a Recommendation to which no

timely objection has been filed. Doc. 5. There being no objection filed to the

Recommendation, and after an independent review of the file, the Court concludes the

Magistrate Judge’s Recommendation should be adopted. Accordingly, it is ORDERED

that:

        1.   The Recommendation of the Magistrate Judge (Doc. 5) is ADOPTED.

        2.   Plaintiff's claims against the Macon County Sheriff’s Department are

DISMISSED with prejudice prior to service of process under 28 U.S.C. § 1915A(1)(b).

        3.    Plaintiff's claims against the City of Tuskegee are DISMISSED without

prejudice prior to service of process under 28 U.S.C. § 1915A(1)(b).

        4.    The Macon County Sheriff’s Department and the City of Tuskegee are

TERMINATED as parties to this action prior to service of process.
      Case 3:21-cv-00617-WHA-SRW Document 7 Filed 10/18/21 Page 2 of 2




      The Clerk of the Court is DIRECTED to enter this document on the civil docket as

a final judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure as to

Defendants Macon County Sheriff’s Department and the City of Tuskegee.

      This case is not closed and is referred to the United States Magistrate Judge for

further proceedings regarding Plaintiff’s claims against the remaining defendants.

      Done, this 18th day of October 2021.

                                     /s/ W. Harold Albritton
                                  W. HAROLD ALBRITTON
                                  SENIOR UNITED STATES DISTRICT JUDGE
